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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff, Civil Action No.

v.
JURY TRIAL DEMANDED
FRANCISCO ILLARRAMENDI, and
MICHAEL KENWOOD CAPITAL
MANAGEMENT, LLC,

Defendants,
and

MICHAEL KENWOOD ASSET
MANAGEMENT, LLC,

MK ENERGY AND INFRASTRUCTURE,
LLC, and

MKEI SOLAR, LP,

Relief Defendants.

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COMPLAINT

Plaintiff Securities and Exchange Commission (the “Commission”) alleges the following
against Defendants Francisco Illarramendi (“Illarramendi’”) and Michael Kenwood Capital
Management, LLC (“MK Capital Management’’) and Relief Defendants Michael Kenwood Asset
Management, LLC (“MK Asset Management”), MK Energy and Infrastructure, LLC (“MK
Energy’) and MKEI Solar, LP (“MKEI Solar”):

SUMMARY
1. This case involves the misappropriation of investor assets by an unregistered

investment adviser located in Stamford, Connecticut. Illarramendi is the majority owner and
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control person of a group of affiliated entities (the “MK Entities”) organized under the name The
Michael Kenwood Group, LLC (the “MK Group”), a-Stamford, Connecticut-based holding
company. Through one of the MK Entities, namely MK Capital Management, Illarramendi
advises hedge funds, which include the Short Term Liquidity Fund, I, Ltd. (the “Short Term
Liquidity Fund”) and MK Venezuela, Ltd. (the “MK Venezuela Fund”) (collectively, the
“Funds”). The current approximate value of the Short Term Liquidity Fund, according to
counsel for the MK Group, is $540 million. The investors in the Funds are off-shore individuals |
and entities, including a pension fund for a foreign corporation (the “Pension Fund”). Indeed,
the Pension Fund is the source of approximately 90% of the monies invested in the Funds.

2. Since at least 2009, [larramendi has improperly and illegally invested at least $53
million from the Funds by first transferring monies from the Funds’ accounts into bank accounts
that he personally controlled, and then making unauthorized investments of the monies in long-
term private equity investments.

3, Moreover, Illarramendi misappropriated the Funds’ assets by causing fund adviser
MK Capital Management to use the Funds’ assets to purchase interests in private companies for
the benefit of Illarramendi and other entities that he controls. This self-dealing created an
undisclosed conflict of interest and was in breach of Illarramendi’s fiduciary duty to the Funds.

4. The Defendants’ conduct has created the risk of imminent harm to the Funds —
and absent the relief sought by the Plaintiff, as much as $5 million in additional investor funds
could be placed at risk. During this investigation, the Commission staff learned that one of the
private equity investments (the “Nuclear Energy Company”) requires a cash infusion of $5

million in January to pay operating expenses. The Nuclear Energy Company, a West Coast-
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based company that is in the developmental stage and will not have a saleable product until at
least 2014, has already received approximately $23 million in investor monies from Illarramendi.

5. By engaging in the conduct alleged herein, Defendants violated Sections 206(1),
(2) and (4) of the Investment Advisers Act of 1940 (“Advisers Act”) and Rule 206(4)-8
thereunder.

6. Based on these violations, the Commission seeks: (1) entry of a permanent
injunction prohibiting Defendants from further violations of the relevant provisions of the federal
securities laws; (2) disgorgement of Defendants’ ill-gotten gains, plus pre-judgment interest; (3)
disgorgement by the Relief Defendants of all unjust enrichment and/or ill-gotten gain received
from Defendants, plus prejudgment interest; and (4) the imposition of a civil monetary penalty
due to the egregious nature of Defendants’ violations. In addition, because of the risk that
Defendants will continue violating the federal securities laws and the danger that any remaining
investor funds will be dissipated or concealed before entry of a final judgment, the Commission
seeks preliminary equitable relief, to wit, a temporary restraining order and upon notice a
preliminary injunction, to: (1) prohibit Defendants from continuing to violate the relevant
provisions of the federal securities laws; (2) freeze Defendants’ and Relief Defendants’ assets
and otherwise maintain the status quo; (3) require Defendants and Relief Defendants to submit
an accounting of investor funds and other assets in their possession; (4) require Defendants and
Relief Defendants to repatriate assets that were transferred outside of the United States and were
obtained from investors; (5) prohibit Defendants from soliciting or accepting additional |
investments; (6) prohibit Defendants from destroying relevant documents; (7) authorize the ~

Commission to undertake expedited discovery; and, (8) appoint a receiver pursuant to Federal
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Rule of Civil Procedure 66 to safeguard client assets in the custody and control of the Defendants
and/or the Relief Defendants.
JURISDICTION AND VENUE
7. The Commission brings this action pursuant to the enforcement authority
conferred upon it by Section 209(d) of the Advisers Act [15 U.S.C. §80b-9(d)]. This Court has
jurisdiction over this action pursuant to 28 U.S.C. §1331 and Section 214 of the Advisers Act [15
U.S.C. §80b-14].
8. Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(2) and Section 214
of the Advisers Act [15 U.S.C. §§ 77v(a), 78aa, and 80b-14], because a substantial part of the
- acts constituting the alleged violations occurred in the District of Connecticut and because
. Illarramendi’s primary residence is in the District of Connecticut and the principal place of
business of all of the entities named as defendants is Connecticut.

9. In connection with the conduct alleged in this Complaint, Defendants directly or
indirectly made use of the means or instruments of transportation or communication in interstate
commerce, the facilities of a national securities exchange, or the mails.

10. Defendants’ conduct involved fraud, deceit, or deliberate or reckless disregard of
regulatory requirements, and resulted in substantial loss, or significant risk of substantial loss, to
other persons.

11. Unless enjoined, Defendants will continue to engage in the securities law

violations alleged herein, or in similar conduct that would violate the federal securities laws.
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DEFENDANTS

12. Illarramendi, age 41, is a resident of New Canaan, Connecticut. Illarramendi is
not registered with the Commission in any capacity. Illarramendi is the majority owner of the
MK Group, and was previously associated with a U.S.-based registered investment adviser.

13. | MK Capital Management was incorporated in Delaware in 2006 and its principal
place of business is in Stamford, Connecticut. It is wholly owned by the MK Group and is
therefore controlled by Illarramendi. It is not registered with the Commission in any capacity.

RELIEF DEFENDANTS

14. | MK Asset Management was incorporated in Delaware in 2006 and its principal
place of business is in Stamford, Connecticut. It is wholly-owned by the MK Group and
controlled by Illarramendi. It is not registered with the Commission in any capacity. MK Asset
Management is the record owner of shares of the Nuclear Energy Company, which were
purchased using the Funds’ assets.

15. MK Energy was incorporated in 2010 in Delaware and its principal place of
business is Stamford, Connecticut. The precise ownership of MK Energy is currently unknown,
but it is controlled by Illarramendi either as a direct owner or as the owner of MK Group. On —
information and belief, MK Energy may be partially owned by a relative of Illarramendi. MK
Energy is the record owner of shares of at least two private companies -- which shares were
purchased with investor assets, and thus rightfully constitute the property of the Funds.

16. | MKEI Solar is the record owner of certain shares in a private company, which

were purchased using the investor money from the Funds.
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FACTUAL ALLEGATIONS

A. Iarramendi Uses $53 Million in Investor Funds to Make Private Equity
Investments in the Names of Entities That He Personally Controlled

17. Beginning in or around late 2009, Illarramendi — an unregistered hedge fund
adviser -- made numerous multi-million dollar investments in private equity deals using the
investor monies from two of the Funds: namely, the MK Venezuela Fund and the Short Term
Liquidity Fund. The current approximate value of the Short Term Liquidity Fund, according to
counsel for the MK Group, is $540 million. The investors in the Funds are off-shore individuals
and entities, including the Pension Fund.

18. The largest of Illarramendi’s private equity investments was in a West Coast-
based Nuclear Energy Company. From approximately April 22, 2010 to approximately
November 23, 2010, Illarramendi invested almost $23 million from the Funds into the Nuclear
Energy Company. Specifically, in or about April 2010, approximately $10.5 million in investor
funds were transferred from an MK Venezuela Fund account to Relief Defendant MK Asset
Management, and $7 million of which was wired from MK Asset Management to the Nuclear
Energy Company the next day. From August 2010 through November 2010, approximately $13
million was wired from a Short Term Liquidity Fund account to MK Asset Management, which
then made five transfers totaling approximately $16 million from its account to the Nuclear
Energy Company shortly after the receipt of monies from the Short Term Liquidity Fund.
Although Ilarramendi used Fund assets to make the investment, he caused the shares in the
Nuclear Energy Company to be registered in the name of Relief Defendant MK Asset
Management, an entity he owns and controls.

19. Based on information and belief, the Nuclear Energy Company is in the early

development stage of product design, and does not expect to have federal approval for the sale of
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its product until at least 2014. Accordingly, the Nuclear Energy Company is not anticipated to
generate investor returns, if any, until at least 2014 or upon the purchase of the shares by another
investor, either privately or through an initial public offering.

20. In addition to the $23 million investment in the Nuclear Energy Company, in or |
about May 2010, Illarramendi authorized the transfer of approximately $20 million from the
Short Term Liquidity Fund’s account to pay for shares in a manufacturing company that is in the
early development stage of creating zero-emissions mass transportation alternatives (the “Clean
Transportation Manufacturer”). The shares in the Clean Transportation Manufacturer were
registered not in the name of the Fund, but in the name of Relief Defendant MK Energy, an
entity owned and controlled by Illarramendi.

21. Inor about September 2010, Illarramendi authorized the transfer of $4 million in
investor funds from the Short Term Liquidity Fund account to pay for shares in a development
stage energy technology company (the “Technology Company”), which were then registered in
the name of Relief Defendant MKEI Solar, an entity owned and controlled by Illarramendi.

22. In or about December 2009, Illarramendi authorized the transfer of more than
$3.5 million from an account in the name of Highview Point Offshore Ltd. to a Spanish company
that produces rolled steel (the “Spanish Steel Company”). These shares were registered to MK
Energy. On information and belief, this Highview Point Offshore , Ltd. Account held money
belonging to the MK Venezuela Fund. Illarramendi authorized the transfer of this MK
Venezuela Fund money to the Spanish Steel Company directly. In or about March 2010,
Illarramendi authorized another transfer of approximately $2 million from the Short Term
Liquidity Fund to the Spanish Steel Company, and an additional $1.2 million in or about August

2010. In total, Illarramendi authorized a total of approximately $6.7 million in investor funds to
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the Spanish Steel Company. Notwithstanding that the shares were purchased using money from
the Funds, the shares were registered in the name of Relief Defendant MK Energy, an entity
owned and controlled by Illarramendi.

23. In total, between December 2009 and November 2010, Illarramendi
misappropriated $53 million in investor funds to make investments in private entities in the
names of companies that he owned and controlled.

B. Dlarramendi Makes False and Misleading Statements to Investors Regarding
Liquidity and Use of Investor Funds

24.  Allof the above transactions were wholly inconsistent with the representations
made by IIlarramendi, the MK Venezuela Fund and the Short Term Liquidity Fund to investors
in the Funds at the time the investments in the Funds were made.

25. With regard to the Short Term Liquidity Fund (and as the fund’s name necessarily
implies), the Private Offering Memorandum contemplated that the investments in said fund
would be short term in nature:

While the Fund may, from time to time, invest in longer-term securities, its primary

investment strategy seeks to take advantage of products offered in the global fixed

income and derivatives markets to generate gains through short-term (under one year)
investments[.] . . . [T]he Investment Manager may pursue any strategies, employ any
investment techniques and purchase any type of security it considers appropriate to
achieve the investment objective of the Fund, as long as they are constrained to fixed
income securities and derivatives referencing fixed income securities.

26. Consistent with the goals of a self-described short term liquidity fund, the Private
Offering Memorandum provided that investors may generally redeem their investments upon 30
days’ notice.

27. The Private Offering Memorandum did not provide for loans to be made to the

adviser or entities under common ownership or control of the adviser without notice to the

investors.
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C. Marramendi Belatedly Claims that His Private Equity Investments with
Investor Funds Were “Loans” .

28. During this investigation, Illarramendi, through counsel, has informed
Commission staff that, in fact, the $53 million transferred from the Funds to private equity
investments were loans from the Funds to entities controlled by Illarramendi.

29. | However, investors were not specifically informed that the Funds were used to
make “loans” to entities controlled by Illarramendi to invest in private equity ventures.

30. Moreover, the purported “loans” from the Funds to entities controlled by
Illarramendi were unsecured and, with a single exception, never documented. Indeed,
Commission staff have learned that loan documents only exist for the investment in the Clean
Transportation Manufacturer, which was due to be repaid to the Short Term Liquidity Fund in
November 2010 at LIBOR plus 9%, and that these terms were subsequently extended through
January 2011.

31. | The Commission staff has interviewed an executive at the Pension Fund (the
“Pension Fund Executive”). The Pension Fund Executive indicated to the Commission staff that
although he was aware that Illarramendi was investing certain of the pension funds in private
equity transactions, he was unaware that any of the pension funds were used to make loans.

32.  Inaddition, Commission staff has interviewed two other investors in the Short
Term Liquidity Fund (“Investor A” and “Investor B”). Investor A advised Commission staff that
he was unaware of his funds being used for private equity investments. He stated that his
understanding was that his funds would be used solely for short term currency transactions
involving Venezuelan bonds. Investor B advised Commission staff that he was unaware of his
funds being used for private equity investments. He stated that his understanding was that his

funds would be used solely to purchase dollar denominated government bonds.
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First Claim for Relief
(Violation of Sections 206(1) of the Advisers Act)

33. The Commission repeats and incorporates by reference the allegations in
paragraphs | through 32 above as if set forth fully herein.

34. At all times relevant to this Complaint, the Defendants acted as investment
advisers to the Funds.

35. Defendants, while acting as investment advisers, by use of the mails, and the
means and instrumentalities of interstate commerce, directly or indirectly, employed devices,
schemes or artifices to defraud their clients or prospective clients.

36.  Atall times relevant to this Complaint, the Defendants acted with scienter.

37. By engaging in the conduct described above, Defendants have violated, and
unless enjoined will continue to violate, Section 206(1) of the Advisers Act [15 U.S.C. §80b-
6(1)].

Second Claim for Relief
(Violation of Section 206(2) of the Advisers Act)

38. | The Commission repeats and incorporates by reference the allegations in
paragraphs 1 through 32 above as if set forth fully herein.

39. At all times relevant to this Complaint, the Defendants acted as investment
advisers to the Funds.

40. Defendants, while acting as investment advisers, by use of the mails, and the
means and instrumentalities of interstate commerce, directly or indirectly, engaged in
transactions, practices and courses of business which have operated as a fraud or deceit upon
their clients or prospective clients.

41. By engaging in the conduct described above, Defendants have violated, and

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unless enjoined will continue to violate, Section 206(2) of the Advisers Act [15 U.S.C. §80b-

6(2)].

Third Claim for Relief
(Violation of Sections 206(4) of the Advisers Act and Rule 206(4)-8) |

42. | The Commission repeats and incorporates by reference the allegations in
paragraphs | through 32 above as if set forth fully herein.

43. At all times relevant to this Complaint, the Defendants acted as investment
advisers to the Funds.

44. Defendants, while acting as investment advisers, by use of the mails, and the
means and instrumentalities of interstate commerce, directly or indirectly, engaged in acts,
practices or courses of business which were fraudulent, deceptive, or manipulative. The
Defendants made untrue statements of a material fact or omitted to state a material fact necessary
to make the statements made, in the light of the circumstances under which they were made, not
misleading, to any investor or prospective investor in the pooled investment vehicle, and
otherwise engaged in acts, practices or courses of business that were fraudulent, deceptive, or
manipulative with respect to any investor or prospective investor in the pooled investment
vehicle.

45. By engaging in the conduct described above, Defendants have violated, and
unless enjoined will continue to violate, Section 206(4) of the Advisers Act [15 U.S.C. §80b-6(4)

and Rule 206(4)-8 [17 C.F.R. 275.206(4)-8] thereunder.

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Fourth Claim for Relief
(Other Equitable Relief, Including Unjust Enrichment and Constructive Trust,
Against Relief Defendants)

46. | The Commission repeats and incorporates by reference the allegations in
paragraphs 1 through 32 above as if set forth fully herein.

47. Section 21(d)(5) of the Exchange Act [15 U.S.C. §78u(d)(5)] states: “In any
action or proceeding brought or instituted by the Commission under any provision of the
securities laws, the Commission may seek, and any Federal court may grant, any equitable
relief that may be appropriate or necessary for the benefit of investors.”

48. The Relief Defendants have received investor funds under circumstances
dictating that, in equity and good conscience, they should not be allowed to retain such funds.

49. Further, specific property acquired by the Relief Defendants is traceable to
Defendants’ wrongful acts and there is no reason in equity why the Relief Defendants should
be entitled to retain that property.

50. As aresult, the Relief Defendants are liable for unjust enrichment and should be
required to return their ill-gotten gains, in an amount to be determined by the Court. The
Court should also impose a constructive trust on property in the possession of Relief
Defendant that is traceable to Defendants’ wrongful acts.

PRAYER FOR RELIEF

WHEREFORE, the Commission requests that this Court:

A. Enter a temporary restraining order, order freezing assets, and order for other
equitable relief in the form submitted with the Commission’s motion for such relief, and, upon
further motion, enter a comparable preliminary injunction, order freezing assets, and order for

other equitable relief;

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B. Enter a permanent injunction restraining Defendants and each of their agents,
servants, employees and attorneys and those persons in active concert or participation with them
who receive actual notice of the injunction by personal service or otherwise, including facsimile
transmission or overnight delivery service, from directly or indirectly engaging in the conduct
described above, or in conduct of similar purport and effect, in violation of Sections 206(1), (2)
and (4) of the Advisers Act [15 U.S.C. §§80b-6(1), 80b-6(2), 80b-6(4)] and Rule 206(4)-8
thereunder [17 C.F.R. 275.206(4)-8].

C. Require Defendants to disgorge their ill-gotten gains and losses avoided, plus pre-
judgment interest, with said monies to be distributed in accordance with a plan of distribution to
be ordered by the Court;

D. Require the Relief Defendants to disgorge all unjust enrichment and/or ill-gotten
gain received from Defendants, plus prejudgment interest, with said moneys to be distributed in
accordance with a plan of distribution to be ordered by the Court;

E. Require Defendants to pay appropriate civil monetary penalties pursuant to
Section 209(e) of the Advisers Act [15 U.S.C. §§77t(d), 78u(d)(3), 80b-9(e)];

F, Retain jurisdiction over this action to implement and carry out the terms of all
orders and decrees that may be entered;

G. Appoint a receiver pursuant to Federal Rule of Civil Procedure 66; and

H. Grant such other and further relief as the Court deems just and proper.

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JURY DEMAND
The Commission hereby demands a trial by jury on all claims so triable.

Respectfully submitted,

SECURITIES AND EXCHANGE
COMMISSION

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Dated: January 14, 2011

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